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 1                                                             The Honorable Richard A. Jones
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 5
                               UNITED STATES DISTRICT COURT
 6                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 7

 8   UNITED STATES OF AMERICA,                         No. CR14-200 RAJ
 9                  Plaintiff,
                                                       ORDER GRANTING
10          v.
                                                       MOTION TO SEAL
11   EMIGDIO SAUCEDA-MACIAS,

12                  Defendant.

13

14
            THIS MATTER comes before the Court upon the defendant’s motion to seal his
15
     Sentencing Memorandum. Having considered the entirety of the records and file herein,
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     and finding good cause, the Court hereby grants the motion (Dkt. #302).
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18
            It is ORDERED that Defendant’s Sentencing Memorandum be allowed to remain

19   under seal due to the nature of its contents.

20          DATED this 21st day of April, 2016.
21

22                                                     A
23                                                     The Honorable Richard A. Jones
                                                       United States District Judge
24

25

     ORDER GRANTING MOTION TO SEAL                                BLACK LAW, PLLC
     (Emigdio Sauceda-Macias; No. CR14-200 RAJ) - 1
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